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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                          AMARILLO DIVISION


PRESIDENT DONALD J. TRUMP,

                       Plaintiff,
                                               Case No. 2:24-cv-00236-Z
     v.

CBS BROADCASTING INC. &
CBS INTERACTIVE INC.,

                       Defendants.



   DEFENDANTS CBS BROADCASTING INC. AND CBS INTERACTIVE INC.’S
      MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
     AND IMPROPER VENUE OR, IN THE ALTERNATIVE, TO TRANSFER
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       Defendants CBS Broadcasting Inc. and CBS Interactive Inc. (together, “CBS” or

“Defendants”), by and through their undersigned attorneys, respectfully move to dismiss

Plaintiff’s complaint (ECF No. 1) (“Complaint”) pursuant to Rules 12(b)(2) and 12(b)(3) of the

Federal Rules of Civil Procedure and 28 U.S.C. § 1406 or, in the alternative, to transfer this

action to the United States District Court for the Southern District of New York pursuant to 28

U.S.C. § 1404 or § 1406. In support of their motion, Defendants rely on and incorporate the

accompanying memorandum of law, the Declaration of Bill Owens and exhibits thereto, and the

Declaration of Gayle C. Sproul and exhibit thereto.

       As more fully described in the memorandum of law, the Complaint should be dismissed

for lack of personal jurisdiction and for improper venue. At a minimum, transfer is warranted.

       First, neither Defendant is subject to personal jurisdiction in Texas on this claim.

“Defendant CBS Broadcasting Inc. is a New York corporation with its principal place of

business in New York,” ECF No. 1 at ¶ 19, while “Defendant CBS Interactive Inc. is a Delaware

corporation with its principal place of business in New York,” id. ¶ 20. Accordingly, general

jurisdiction does not lie. Specific jurisdiction also does not lie. Neither of the Defendants

purposely directed its conduct at Texas specifically when producing, editing, and broadcasting

the interview of Vice President Harris that aired on 60 Minutes (or the excerpt on Face the

Nation), nor is there any affiliation between Texas, the substance of the challenged interview, or

the harm felt by Plaintiff, a Florida resident. If this district has personal jurisdiction on the facts

alleged, so too does every district court in the country. That is not the law.

       Second, the Northern District of Texas is not a proper venue under 28 U.S.C. § 1391(b).

There can be no dispute that this case could have been brought in the Southern District of New

York. See 28 U.S.C. § 1391(b)(3). And President Trump does not allege—nor could he—that a



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substantial part of the events or omissions giving rise to his claim occurred in Texas. See id.

§ 1391(b)(2).

       Third, even if the Court were to find that the exercise of jurisdiction is appropriate and

that this district is a proper venue, the private interest and public interest factors overwhelmingly

support transfer to the Southern District of New York under 28 U.S.C. § 1404(a). Among other

relevant considerations, the evidence and witnesses are in New York, such that litigating there

would be far more convenient for the parties, and New York has strong policy interests in

regulating the conduct of its citizens and media.

       For the foregoing reasons, Defendants respectfully request that the Court dismiss

Plaintiff’s Complaint with prejudice or, in the alternative, transfer it to the Southern District of

New York.

                   LOCAL RULE 7.1 CERTIFICATE OF CONFERENCE

       On December 5, 2024, Elizabeth McNamara, counsel for Defendant, conferred with

Edward Paltzik, counsel for Plaintiff, regarding Defendant’s motion in the alternative to transfer

to the Southern District of New York. Mr. Paltzik stated that Plaintiff opposes the motion to

transfer and believes that the Northern District of Texas is the appropriate venue.




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Respectfully submitted,

                                        /s/ Thomas C. Riney

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                              CERTIFICATE OF SERVICE

       I hereby certify that on December 6, 2024 a true and correct copy of the foregoing was

served via CM/ECF on all counsel of record.

                                                  /s/ Thomas C. Riney         .




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